302 F.3d 909
    Marta ZAMBRANO; Margarita Rodriguez; Graciela Lopez; Andrea Ruiz; Martha Ozuna; Jorge Perdoma, Plaintiffs-Appellants,v.IMMIGRATION AND NATURALIZATION SERVICE; Edwin Meese; Alan Nelson, Defendants-Appellees.
    No. 00-16191.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted December 7, 2001.
    Filed March 7, 2002.
    Amended September 4, 2002.
    
      Richard M. Pearl, Berkeley, CA, for the appellants.
      William J. Howard and Antony W. Norwood, Office of Immigration Litigation, U.S. Department of Justice, Washington, DC, for the appellees.
      Appeal from the United States District Court for the Eastern District of California; Edward J. Garcia, District Judge, Presiding. D.C. No. CV-88-00455-EJG.
      Before; HUG, D.W. NELSON, and HAWKINS, Circuit Judges.
    
    
      1
      The Opinion filed March 7, 2002 is amended as follows: on slip opinion page 3832, last paragraph (that carries over to page 3833) [282 F.3d at 1152], change the paragraph to read:
    
    
      2
      The overall scheme of the new legislation reflects that by specifically making the repeal of § 377 retroactive to the date of the enactment of the IRCA, the statutory language was intended to remove a jurisdictional obstacle to litigation over applications pursuant to both the IRCA and the newly amended LIFE Act, and was not intended to retroactively bestow jurisdiction on the district court for the purposes of awarding fees.
    
    
      3
      At the end of this paragraph (following "awarding fees"), the following footnote should be inserted:
    
    
      4
      In so ruling, we make no judgment on whether a district court may, in response to a Rule 60(b) motion, or whether a Court of Appeals may, in response to a timely appeal, reinstate dismissed claims of substantial cause plaintiffs.
    
    
      5
      With these amendments, the panel has voted to deny the petition for rehearing and reject the suggestion for rehearing en banc.
    
    
      6
      The full court has been advised of the petition for rehearing en banc and no judge has requested a vote on whether to rehear the matter en banc. Fed. R.App. P. 35.
    
    
      7
      The petition for panel rehearing and the suggestion for rehearing en banc are DENIED.
    
    